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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KAMILAH JOLLY; DIEGO ALVAREZ-                                  Case No. 1:24-cv-06401-LJL
 MIRANDA EZPELETA; and VAUGHN BOBB-
 WILLIS; individually and on behalf of all others               ORDER GRANTING JOINT
 similarly situated,                                            LETTER-MOTION TO STAY
                                                                CASE PENDING SETTLEMENT
                        Plaintiffs,                             NEGOTIATIONS
        v.

 FURTHERED, INC. d/b/a LAWLINE, INC.,

                        Defendant.


       The Court, after due consideration, grants the parties’ Joint Letter-Motion to Stay Case

Pending Settlement Negotiations, and orders:

       1. This case, including discovery, and all pending deadlines are stayed until further
          order of the Court.

       2. The parties shall file a joint status report 90 days after entry of this order.


                                               SO ORDERED.


Date: ________ day of March 2025               _________________________________
                                               LEWIS J. LIMAN
                                               United States District Judge
